ERBC;I;U Case 2:91-cr-20249-.]PI\/| Document 92 Filed 09/02/05 Page 1 of 2 Page|D 19
UNITED STATES DIS'I`RICT COURT

for ntsb ev .'Jj.£/_ ne
wEsTERN msch oF TENNESSEE
05 SEP *2 PH 52 2|

 

U.S.A. vs. Clarence Steven James Docket No. ' 0 49-01
Amended CLE U 8 '}3'\` 4 m m
Petition on Probation and Supervised Release $,('@ ()F i;~\bm§:ip|_ns

COMES NOW Lorin J. Snnth, PROBATION OFFICER OF THE COURT presenting an official report upon
the conduct and attitude of Clarence Steven James, Who Was placed on supervision by the Honorable Odell Horton
sitting in the Court at Memphis, Tennessee on the _11_"‘ day of March, 1_92_3_, who fixed the period of supervision
at five 151 years* with the following special conditions:

 

 

l.) The defendant shall not own or possess a firearm or destructive device.
2.) The defendant shall receive a alcohol and drug treatment.
*Supervision began April 27, 2005.

RESPECTFULLY PRESENT]NG PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:
(If short insert here; if lengthy write on separate sheet and attach)

As pronounced by the Court on August 26, 2005, the court ordered modification of Clarence James’ special
conditions of Supervised Release.

PRAYING THAT THE COURT WILL ORDER that the following special conditions be added to the terms of
Mr. Ciarence James’ Supervised Release:

The defendant shall participate as directed in a program of mental health treatment, including a sexual offender
treatment pro gram, approved by the probation oflicer. The defendant shall abide by the rules, requirements, and
conditions of the treatment prograrn, which may include submitting to polygraph or plethysmo graph testing, to aid
in the treatment and supervision process. Accormnodations for Mr. Jarnes’ work schedule are to be made by the
United States Probation Oflice if possible. If a satisfactory agreement is not reached, this matter is to be brought
before the court.

Defendant shall provide a DNA sample at the request of the United States Probation Oiice.

ORDER ()F COURT

Considered and ordered this 3 day
of Q[ll , 200~§, and ordered filed
and made a part of the records in the above

    

U.S. Probation Offlcer

case.
/QMO W`OLQQ& Place: Ms. Tenncssee

 

 

 

Wtates District Judge Date: Auggst 30, 2005
This document entered on the docket sheet in compliance
. r f ,(p-@§ _
with Ru|e o§ ann/or 32(b) FRCrP on

   
 

     
 

UNITED sTATE ISTRIC COURT - WE"RNTE D'S'TRCT OFTENNESSEE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 92 in
case 2:9]-CR-20249 Was distributed by faX, mail, or direct printing on
Scpternber 6, 2005 to the parties listed.

 

 

Robert C. Irby

LAW OFFICE OF ROBERT C. IRBY
4345 E. Mallory

l\/lemphis7 TN 381 ll

Stephen C. Parker

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable .l on McCalla
US DISTRICT COURT

